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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


IN MATTER OF APPLICATION OF                    )
THE UNITED STATES OF AMERICA                   )
FOR A WARRANT DIRECTING THE                    )       Magistrate No.
DISCLOSURE OF GPS/E911                         )
LOCATION DATA RELATING TO THE                  )          [UNDER SEAL]
VERIZON TELEPHONE NUMBER                       )
(513) 846-3153                                 )

                               AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

        I, John Ypsilantis, being duly sworn, depose and say:

                       INTRODUCTION         AND AGENT BACKGROUND

        1.       I make this Affidavit in support of an Application for a search warrant under

Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(I)(A) for information about the

location of the cellular telephone assigned call number (513) 846-3153, is a prepaid account with

unknown      subscriber information,   and utilized by Shay IRWIN (IRWIN)             (hereinafter   the

"SUBJECT       TELEPHONE"),        which is serviced by Verizon, a wireless telephone service

provider.

        2.       Because this warrant seeks the prospective collection of information, including

cell-site location information, that may fall within the statutory definitions of information collected

by a "pen register" and/or "trap and trace device," see 18 U.S.C. § 3127(3) & (4), the requested

warrant is designed to also comply with the Pen Register Act.     See 18 U.S.C. §§ 3121-3127.        The

requested warrant therefore includes all the information required to be included in an order

pursuant to that statute.   See 18 U.S.C. § 3123(b)(1).
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         3.       I am a Special Agent with the Federal Bureau ofInvestigation   (FBI) and, acting as

such, I am a "federal law enforcement officer" within the meaning of Fed. R. Crim. P. 41 (a)(2)(C),

that is, a government agent engaged in enforcing the criminal laws and duly authorized by the

United States Attorney General to request a warrant directing the disclosure ofGPS/E911 location

data.

         4.       I entered on duty at the FBI Academy in Quantico, Virginia on May 14,2017.        I

am currently assigned to the to the FBI Cincinnati Division (Columbus Resident Agency) Joint

Terrorism Task Force (the "JTTF").         I have been assigned to this squad since January 2021.

From October of 2017 until January 2021, your Affiant was assigned to the FBI Pittsburgh

Division Greater Pittsburgh Safe Streets Task Force.         I was employed as a U.S. Border Patrol

Agent with the Department of Homeland Security (DHS) Customs and Border Protection (CBP)

from July 23,2009,      to May 13,2017.     From January 2012 until May 2017 your Affiant was

assigned as a Task Force Officer (TFO) to the FBI Cleveland Division Organized Crime Task

Force.

         5.       During the course of my employment as an FBI Special Agent, FBI TFO, and U.S.

Border Patrol Agent, I have participated in numerous complex criminal, national security, and

international     and domestic terrorism   investigations,   as well as investigations   of criminal

organizations involved in both the manufacturing and distribution of controlled substances.         I

have also participated in numerous investigations involving the use of federal and state search

warrants to collect evidence, including controlled substances, the seizure of narcotics-related

records, and other types of evidence that document the activities of criminal organizations in both

the manufacturing      and distribution of controlled substances.     To successfully conduct these

investigations,    I have utilized a variety of investigative    techniques and resources including



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physical and electronic surveillance, various types of infiltration (including undercover agents,

informants, and cooperating sources), pen register and trap and trace devices, GPS and telephone

tracking devices, trash covers, mail covers, pole cameras, stationary video recordings, and audio

and audio/video recording devices. Additionally, I have personally participated in Title III wiretap

investigations, pursuant to 18 U.S.C. § 2516, in the Northern District of Ohio (NDO) and the

Western District of Pennsylvania (WDPA).

        6.      For instance, within the last two (2) years, your Affiant was the lead agent in a

federal investigation into a violent, neighborhood street gang known as "SCO".              As a result of

that investigation, from January of 2019 through May 2019, your Affiant obtained nine (9) Title

III wiretap authorizations.   As a result of that wiretap investigation, thirty-three (33) individuals

were charged by a federal grand jury in three (3) related Indictments for violations of federal drug

and firearm laws.    See US v. Chadlin Leavy, et al., Crim. No. 19-160 (WDP A June 4, 2019), US

v. Howard McFadden, et al., Crim. No. 19-162 (WDPA June 4,2019), US v. Eric Vanderslice, et

ai., Crim. No. 19-163 (WDPA June 4, 2019).

        7.      Additionally, within the last year, your Affiant was the lead agent in a federal

investigation into the violent, outlaw motorcycle gang known as the Pagan's Motorcycle Club.

As a result of that investigation, from August of 2020 through December 2020, your Affiant

obtained ten (10) Title III wiretap authorizations.       As a result of that wiretap investigation, thirty

(30) individuals were charged by a federal grand jury in three (3) related Indictments for violations

of federal drug and firearm laws.     See US v. Jeffrey Kushik, et al., Crim. No. 20-374 (WDPA

December 1,2020), US v. Anthony Peluso, et al., Crim. No. 20-375 (WDPA December 1,2020),

US v. Bill Rana, et ai., Crim. No. 20-377 (WDPA December 1,2020).




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        8.          In addition to the training I received at the FBI Academy and the   u.s. Border Patrol
Academy, I have received specialized training from the FBI and DHS/CBP focused on topics such

as drug        interdiction,    drug    detection,   money-laundering   techniques   and   schemes,   drug

identification,     asset identification     and removal, and methods utilized by organized criminal

enterprises and drug trafficking organizations to carry out the aforementioned criminal conduct.

        9.          Through the investigations that I have participated in, my training and experience,

and conversations with other agents and law enforcement personnel, I have become familiar with

the methods used by organized criminal enterprises, drug trafficking organizations, outlaw motor

cycle gangs, street gangs, and prison gangs to smuggle and safeguard controlled substances and

firearms, to distribute, manufacture, and transport controlled substances and/or firearms, and to

collect and launder related proceeds.

         10.        I know that it is common practice for drug traffickers to routinely utilize telephones

(including cellular phones and prepaid phones), calling cards, text messaging, email, counter

surveillance, false or fictitious identities, and coded communications to communicate with their

customers, suppliers, couriers, and other conspirators for the purpose of insulating themselves from

law enforcement detection.             It is not uncommon for drug traffickers to initiate such mobile or

prepaid telephone service in the name of an associate or family member or in the name of a

fictitious individual.         Drug traffickers often require the use of a telephone facility to negotiate

times, places, schemes, cost, and manners for importing, possessing, concealing, and distributing

controlled substances, and for arranging the laundering and concealment of proceeds derived from

the sale of controlled substances.           Moreover, it is not uncommon for drug traffickers to utilize

multiple telephone numbers - for instance, a buyer telephone and an associate telephone - as an

additional means to avoid law enforcement detection.



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        11.        Through these investigations, my training and experience, and conversations with

other agents and law enforcement personnel, I am familiar with the coded language and deceptive

linguistic practices typically used by drug traffickers.            I have spent many hours reviewing and

transcribing such coded language, including in preparation for federal indictments and trials.

This process of reviewing           and transcribing      thousands     of intercepted      communications,        in

conjunction with my other experience, has confirmed that it is now common practice for drug

traffickers to utilize all communication features of their telephones, most notably, the voice call

and text message features, nearly simultaneously to communicate with their conspirators.                         For

example, it is quite common for a particular transaction to be set up and completed using both

voice calls and text messages.        In fact, it is now quite unusual for a drug trafficker to utilize solely

one (1) feature of a telephone, such as the voice call feature, to further his criminal activities while

not also using another feature, such as the text message feature, to further their criminal activities.

         12.       I have personally participated in the instant investigation, which is an investigation

into the criminal activity, including drug trafficking, of individuals who are members and/or

associates of a violent, street and prison gang known as the Hamilton County Bloods, hereinafter

the "HCB."     1

         13.       The BLOODS street gang, while a national organization, operates "sets and/or

subsets" in various cities and counties in the United States.               This investigation pertains to the

HCB set or subset operating in and around the Southern District of Ohio, including in Hamilton,

Butler, Montgomery, Franklin, Ross, and Noble counties, and, more specifically, in and around




          1.     Unless otherwise noted, throughout this Affidavit, the term "HCB" will be utilized to collectively
describe the members, facilitators, and/or sources(s) of supply involved in the ongoing drug trafficking conspiracy in
regard to the HCB set and/or subsets operating throughout the ODRC prison system more specifically RCI and NCI.


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the Ohio Department of Rehabilitation and Correction (ODRC) prison system to include Ross

Correctional Institution (RCI) and Noble Correctional Institution (NCI).

        14.    This combined Application       and Affidavit   specifically   relates to an ongomg

investigation into members and/or associates of the HCB, which is a violent street and prison gang,

its suppliers and higher-level drug-dealers, including IRWIN, and others known and unknown, and

the ongoing use of the SUBJECT        TELEPHONE,       by IRWIN, to conspire to distribute and to

distribute controlled substances in the Southern District of Ohio, in violation of Title 21, United

States Code, Sections 841 and 846 (the "TARGET OFFENSES").

        15.    I submit that the following establishes probable cause to believe that the target

offenses have been committed, are still being committed by IRWIN, and that IRWIN, the user of

the SUBJECT     TELEPHONE,          along with others, known and unknown, committed that crime,

and that the information     likely to be received concerning the location of the SUBJECT

TELEPHONE,          which is used by IRWIN, will constitute evidence of that crime - in that,

information about the location of the cellular telephone will be useful in, among other ways,

tracking the movements and activities of IRWIN, continuing to identify the drug trafficking

associates of IRWIN, locating potential stash houses where drugs and drug proceeds are stored,

and drugs are processed as well as an aid in conducting physical surveillance with less risk of being

detected.

      BASIS FOR FACTS/CIRCUMSTANCES                   CONTAINED       IN THIS AFFIDAVIT

        16.    The information contained within this Affidavit is derived from my personal

knowledge, obtained as a result of my participation in this investigation, as well as from the

following sources of information:

               a.       Non-consensual and consensually monitored and recorded communications;



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                b.      Oral and written reports about this and other investigations that I have

                       received, directly or indirectly, from state and local officers and detectives,

                        as well as federal agents and task force officers;

                c.      Surveillance that has been reported to me, either directly or indirectly;

                d.      Review of telephone toll records and pen register/trap and trace information;

                e.      Independent investigations by local law enforcement organizations;

                f.      Reports from controlled/undercover          drug purchases; and,

                g.      Interviews/conversations    with confidential sources.

        17.     Except where otherwise noted, the information set forth in this Affidavit has been

provided to me directly or indirectly by FBI agents and/or task force officers or local law

enforcement agents/officers.

        18.     Unless otherwise noted, wherever in this Affidavit I assert that a statement was

made, the information was provided to me by another law enforcement officer (who may have had

either direct or hearsay knowledge of the statement) to whom I have spoken or whose report I have

read and reviewed.     Such statements are among many statements made by others, and are stated

in substance, unless otherwise indicated.

        19.     Similarly,   information    resulting       from surveillance   (except    where otherwise

indicated) does not set forth my personal observations, but rather observations that have been

provided directly or indirectly to me through other law enforcement officers who conducted such

surveillance.

        20.     Whenever I state a belief, that belief is based upon my training and experience, as

well as information obtained during this investigation.




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        21.     Further, I do not rely upon facts not set forth herein in reaching my conclusion that

a warrant should be issued, nor do I request that this Court rely upon any facts not set forth herein

in reviewing this Affidavit in support of the Application for the disclosure of location data relating

to a wireless device.

        22.     Because this Affidavit is being submitted for the limited purpose of seeking

authorization for disclosure of location data relating to a wireless device, I have not set forth each

and every fact learned during the course of this investigation.   Instead, I have set forth only those

facts that I believe are necessary to establish the requisite probable cause to support a warrant

authorizing the disclosure of location data relating to the SUBJECT TELEPHONE.

                        FACTS ESTABLISIDNG             PROBABLE CAUSE

        23.     This investigation is the result of efforts by the FBI, Ohio State Highway Patrol

(OSHP), ODRC Investigators, and other federal and local law enforcement agencies (LLEA) to

investigate and prosecute individuals involved and/or associated with HCB, a violent street and

prison gang, which is known by law enforcement to engage in criminal activities to include drug

trafficking, violent crimes, homicide, smuggling of drugs to inmates in prison, and money

laundering.

        24.     The HCB operates primarily in/throughout the Southern District of Ohio.

        25.     The HCB is made up of a network of members and associates both outside and

inside of the ODRC prison system.

        26.     A confidential source (hereinafter CS) has been cooperating with law enforcement

for less than one (1) year and is currently motivated by the potential for monetary gain or other

benefits.

        27.     Between January 2021 and the present, CS was debriefed on numerous occasions.



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        28.      During these debriefings, CS identified Diallo BARNES (BARNES) as a known

suboxone,     synthetic    marijuana   (commonly   referred   to as K2), and fentanyl       source of

supply/trafficker and member of the HCB.

        29.      CS is familiar with BARNES has provided both historical and current information

on BARNES and his co-conspirators.

        30.      CS informed law enforcement that BARNES, is known by the alias "BLO" or

"BLOW", and "T.O." and was previously incarcerated at RCI.

        31.      CS stated that BARNES obtained drugs through the "dark-web" and is responsible

for obtaining suboxone strips as well as manufacturing synthetic marijuana and fentanyl laced

paper that was being smuggled into and distributed throughout RCI by BARNES and other HCB

members and associates.

        32.      CS identified Garfield HOWARD (HOWARD) as a close associate of BARNES

and HCB member.           CS further indicated that HOWARD held a leadership role within the HCB

drug trafficking organization at RCI and was a high-level drug trafficker of suboxone strips,

synthetic marijuana laced paper, fentanyl laced paper, and cellular telephones at RCI and NCr.

        33.      CS indicated that HOWARD was known to obtain approximately 1,000 suboxone

strips at a time through drug shipments smuggled into RCI.

        34.      CS stated one (1) suboxone strip sold for approximately $100 dollars u.S. currency

per strip at RCI.   CS further stated that one (1) legal sized sheet of fentanyl or synthetic marijuana

laced paper sold for approximately $1,000 U.S. currency per sheet at RCI

        35.      CS informed law enforcement that HOWARD, is known by the aliases "G-FIELDS"

and is currently incarcerated at RCI.




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        36.       CS identified that BARNES and HOWARD facilitate smuggling drug shipments

into RCI through the aid of a complicit prison staff member or corrections officer at RCI whom

works in the "Intake" or "R&D" department.

        37.       CS identified Richard   EBERHART     (EBERHART)      as a close associate of

BARNES, HOWARD, and the HCB.              CS advised that EBERHART was currently incarcerated

at RCI at held the position of porter in the R&D department at RCI.

        38.       CS informed law enforcement that EBERHART, is known by the alias "ROWL"

or "RAUL".

        39.       CS indicated that EBERHART facilitates transporting the bulk drugs that were

smuggled into the prison to HOWARD through prison medical packs.       CS stated that HOWARD

and HCB members and associates would then separate and break the drugs down into smaller

quantities for resale within RCI.   CS further indicated that once the drugs were separated into

smaller quantities EBERHART would further distribute the drugs to HOWARD and BARNES'

customers and other HCB members and associates inside of RCI.

        40.       CS stated that HOWARD and BARNES coordinated drug trafficking activities

primarily through communicating via cellular telephones.    CS stated that since HOWARD was

located inside of prison and BARNES outside, HOWARD would utilize cellular telephones and

sim cards that were smuggled into RCI to communicate with BARNES and other HCB members

and associates.

        41.       CS identified that is was common for inmates who were HCB members or

associates that were subordinate to HOWARD to "hold" or take possession of his cellular

telephone(s), drugs, and other contraband during the daytime hours.   This was done in order for

HOWARD to insulate himself in case he (HOWARD) or his cell became scrutinized by corrections



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officers, as cellular telephones and drugs were considered major contraband.   CS informed law

enforcement      that although these subordinate    HCB members   and associates   took physical

possession of the cellular telephone(s), drugs, and other contraband they were not authorized to

use them.       CS further indicated that if a subordinate HCB member or associate were caught

violating these rules HOWARD would have them physically assaulted by another HCB member

or associate.

        42.       CS informed law enforcement that in or around November 2020 BARNES and

HOWARD engaged in a "face-time" telephone call via cellular phone where they discussed

delegating HCB drug trafficking activities to other HCB members and associates at RCI as

HOWARD was pending future transfer to NCI within the ODRC prison system.              CS further

informed law enforcement that it was decided at this time to delegate physical drug distribution

operations at RCI to HCB members Dimitri ROGERS              (ROGERS),    Richard GARNETTE

(GARNETTE) and HCB associate and HEARTLESS FELON gang member Marcus MINOR

(MINOR).

        43.       CS informed law enforcement that ROGERS, is known by the alias "TREE",

GARNETTE, is known by the alias "WACO" or "WAKE", and MINOR, is known by the alias

"BAM".

        44.       CS indicated that HOWARD grew up with MINOR and they were from the same

neighborhood in the Cincinnati, Ohio area.

        45.       CS identified that ROGERS, GARNETTE, and MINOR would pay HOWARD and

BARNES for drugs in advance through various CASH APP accounts.         HOWARD and BARNES

would then arrange for the drug shipments to be smuggled into RCI through ROGERS,

GARNETTE, and MINOR through their established drug trafficking network at RCI.        ROGERS,



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GARNETTE, and MINOR would then further distribute the drugs and place additional drug orders

once the drugs were sold and the process was repeated.               CS indicated that ROGERS,

GARNETTE, and MINOR would each purchase approximately $10,000 to $15,000 dollars U.S.

currency worth of drugs at a time from HOWARD and BARNES.

       46.     CS identified IRWIN as a close associate of BARNES, HOWARD, and the HCB.

CS advised that IRWIN was female who was not in prison who helped facilitate HOWARD,

BARNES, and other HCB members and associates drug trafficking operations.

       47.     CS advised that HOWARD           and BARNES       often referred to IRWIN as the

"Secretary" or "Global VP".     CS further advised that IRWIN was paid approximately $10,000

U.S. currency per month for her assistance in facilitating their drug trafficking operations.

       48.     CS indicated that IRWIN often managed HOWARD and BARNES CASH APP

accounts where proceeds from drug sales was funneled through.

       49.     CS identified that some of these CASH APP accounts contained the following

names of Valleyboy, Global, and Forever88.

       50.     CS advised that IRWIN also ran or managed fictious business LLCs on behalf of

HOWARD and BARNES.            CS further advised that these fictious businesses where utilized to

launder drug proceeds generated by HOWARD, BARNES, and HCB members and associates.

CS identified one of these fictious businesses as a clothing company named FOREVER88.

        51.    CS advised that BARNES was involved in purchasing several properties with drug

proceeds in the Cincinnati, Columbus, and Dayton, Ohio areas.

        52.      CS indicated that when HOWARD was transferred to NCI for a short period of

time in or around December 2020, he was still facilitating drug trafficking operations at RCI with

BARNES, ROGERS, GARNETTE, MINOR, and other HCB members and associates.



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        53.     CS identified that in or around January 2021, a cellular telephone and sim card that

were of high value to HOWARD and utilized by HOWARD to facilitate HOWARD, BARNES,

and other HCB members drug trafficking activities at RCI were seized by ODRC corrections

officers and investigators at NCI.   At the time the cellular telephone and sim card were in the

possession of Alfonso HENDERSON (HENDERSON).                CS indicated that HOWARD believed

that he had lost the cellular telephone and sim card but CS advised that they were stolen from

HOWARD and sold to HENDERSON unbeknown to HOWARD.

        54.     On December 17,2020, HOWARD was transferred to NCI from RCI.

        55.     On January 13, 2021, ODRC Investigators          and corrections   officers at NCI

conducted a cell inspection of HOWARD's cell and locker box.         During this inspection ODRC

Investigators and corrections officers located and seized numerous sheets of paper laced with

suspected synthetic marijuana concealed inside of Ramen Noodle Soup packets from HOWARD's

locker box inside of his cell.

        56.     On January 15, 2021, ODRC Investigators          and corrections   officers at NCI

conducted a security inspection of HOWARD's           person, cell, and locker box.     During this

inspection ODRC Investigators and corrections officers located and seized a blue balloon partially

concealed inside of HOWARD's rectum.         Upon further inspection it was revealed that the blue

balloon contained approximately 57 suspected suboxone strips.

        57.     On March 14, 2021, ODRC Investigators and corrections officers at RCI conducted

a security inspection of GARNETTS' s person, cell, and locker box.          During this inspection

ODRC Investigators and corrections officers located and seized approximately several hundred

suspected suboxone strips concealed inside of a stick of cocoa butter and peanut butter jar inside

of GARNETTE's locker box.



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        58.        Your Affiant is aware that HOWARD's                assigned ODRe GTL prison telephone

account is A567193.        The telephone calls placed over the ODRe GTL system are recorded.

         59.       Further, your Affiant has reviewed numerous recorded ODRe GTL telephone

communications placed by HOWARD through his ODRe GTL phone system account, A567193.

It is your Affiant's belief that several of these telephonic communications recorded over ODRe

GTL prison telephone system show that HOWARD is actively engaged in synthetic marijuana and

suboxone    2   trafficking with IRWIN via cellular telephones                 utilized by IRWIN to include

SUBJECT TELEPHONE.                   The examples identified below are only some of the intercepted

communications, and the descriptions of the communications reflect your Affiant's interpretation

and explanation of the contents of the communications.                       Your Affiant believes that these

descriptions are accurate, although they may not be verbatim transcripts.

         60.       On April 5, 2021, at approximately             8:43 PM, HOWARD placed an outgoing

recorded ODRe GTL prison telephone communication to IRWIN via SUBJECT TELEPHONE.

Your Affiant has reviewed this call, based on your Affiant's training and experience, and your

Affiant's knowledge of this investigation, the above-referenced conversation can be summarized

as follows:      HOWARD and IRWIN discuss the poor quality of a recent drug shipment that was

received by HOWARD and other HeB members/associates                          at ReI.     IRWIN and HOWARD

identify the supplier of the poor-quality drugs as a close female associate of another HeB member.

IRWIN and HOWARD then discuss the use of an alternate drug supplier for the next drug shipment

into ReI.       IRWIN suggests utilizing her son, whom she refers to as "eJ", to procure the next drug

shipment into ReI based on his access to higher quality drug suppliers and his dependability.




        2.       Throughout this affidavit your Affiant will use the term "drugs" and/or "drug".       Unless specified
when your Affiant utilizes this term your Affiant is referring to synthetic marijuana and/or suboxone.


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IRWIN and HOWARD discuss the quantity of drugs HOWARD is interested obtaining as well as

the price that HOWARD is willing to pay for the drugs in order for IRWIN to be able to negotiate

on HOWARD's       behalf with any prospective suppliers.    IRWIN expresses concern if another

HCB member is made aware of plan to depart from utilizing the previous drug supplier as it may

cause an issue with other HCB members/associates.      HOWARD advises IRWIN that he needs

more time to consider moving forward with new or alternate drug suppliers.            HOWARD

reiterates how he would prefer to avoid using the previous drug supplier due to such poor-quality

drugs.    IRWIN advises HOWARD that she did not speak with the previous drug supplier in detail

only met them briefly.

         61.    On April 30, 2021, at approximately   10: 13 PM, HOWARD placed an outgoing

recorded ODRC GTL prison telephone communication to IRWIN via SUBJECT TELEPHONE:

Your Affiant has reviewed this call, based on your Affiant's training and experience, and your

Affiant's knowledge of this investigation, the above-referenced conversation can be summarized

as follows:    IRWIN advises HOWARD that when discussing an upcoming drug shipment with

an unidentified HCB member/associate she made a mistake when detailing the quantity of drugs

that was going to be supplied to HOWARD and other HCB members/associates            at RCI.   The

drug quantity she discussed with the unidentified HCB member/associate was lower than the actual

drug quantity in the shipment.   HOWARD advises IRWIN that the higher quality of drugs will

be beneficial to HCB drug trafficking operations at RCI and HCB members/associates    at RCI will

be extremely pleased.

         62.    Reviews of prior recorded outgoing ODRC GTL prison telephone communications

to SUBJECT       TELEPHONE       placed by HOWARD          identify that the user of SUBJECT

TELEPHONE identifies herself as "SHAY IRWIN".



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        63.     The investigation has revealed that IRWIN lists her current employment as a

Reentry Specialist, MRT Facilitator with GLOBAL GPS INC in Cincinnati, Ohio.            Additionally,

the investigation has revealed that Diallo BARNES is the listed registered agent of GLOBAL GPS

INC. LLC, 6457 GLENW AY AVE STE 193, CINCINNATI, OH 45211.

        64.     Pen register/trap and trace analysis conducted by law enforcement officers involved

in the investigation revealed that SUBJECT TELEPHONE is in communication with a cellular

telephone utilized by BARNES.

        65.     Additionally, pen register/trap and trace analysis conducted by law enforcement

officers involved in the investigation revealed that SUBJECT TELEPHONE                 is in frequent

communication with individuals believed to be involved in HCB's drug trafficking operations.

        66.        Pen register/trap and trace analysis conducted by law enforcement          officers

involved in the investigation revealed that SUBJECT TELEPHONE is currently active.

                        CELLULAR DEVICES AND LOCATION DATA

        67 .    Your Affiant has been advised that Verizon, which services the SUBJECT

TELEPHONE, is a company that provides cellular telephone access to the general public.          Your

Affiant also knows that providers of cellular telephone service have technical capabilities that

allow them to collect and generate information about the locations of the cellular telephones to

which they provide service, including cell-site data, also known as "tower/face information" or

"cell tower/sector records."      Cell-site data identifies the "cell towers" (i.e., antenna towers

covering specific geographic areas) that received a radio signal from the cellular telephone and, in

some cases, the "sector" (i.e., faces of the towers) to which the telephone connected.          These

towers are often a half-mile or more apart, even in urban areas, and can be ten (10) or more miles

apart in rural areas.   Furthermore, the tower closest to a wireless device does not necessarily serve



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every call made to or from that device.      Accordingly, cell-site data provides an approximate

location of the cellular telephone but is typically less precise than other types of location

information, such as E-911 Phase II data or Global Positioning Device ("GPS") data.

       68.     E-911 Phase II data provides relatively precise location information about the

cellular telephones themselves, either via GPS tracking technology built into the phones or by

triangulating on the device's signal using data from several of the provider's cell towers.

       69.     When directed pursuant to court order, Verizon will provide a designated law

enforcement   agency with periodically-updated        physical    location   data with respect to the

SUBJECT TELEPHONE.              If, for any reason, the provider is unable to generate sufficient

location information by sending a signal to the SUBJECT TELEPHONE or by otherwise using

known reference points, the government requests that the provider furnish such other physical

location data as is available, including information reflecting the tower and antenna face ("cell

site") used by the SUBJECT TELEPHONE at the start and end of any call.

       70.     Based on your Affiant's training and experience, your Affiant is aware that it is

common for members and associates of drug trafficking organizations (DTOs) as well as street

and prison gangs to conduct criminal activities across various federal districts throughout the

United States due to the scope of their national reach and membership.

        71.    Based on your Affiant's training and experience, your Affiant is aware that it is

common practice for members and associates of DTOs as well as street and prison gangs to

routinely utilize telephones (including cellular phones and prepaid phones), calling cards, text

messaging, email, counter surveillance, false or fictitious identities, and coded communications to

communicate    with customers, suppliers, couriers, and other conspirators         for the purpose of

insulating themselves from law enforcement detection.            It is not uncommon for members and



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associates of DTOs as well as street and prison gangs to initiate such mobile or prepaid telephone

service in the name of an associate or family member or in the name of a fictitious individual.

Additionally, it is not uncommon for members and associates ofDTOs as well as street and prison

gangs to change cellular telephone numbers in attempt to thwart law enforcement detection.

Members and associates of DTOs as well as street and prison gangs often require the use of a

telephone facility to negotiate times, places, schemes, cost, and manners for importing, possessing,

concealing,   and distributing      controlled   substances,   and for arranging    the laundering   and

concealment of proceeds derived from the sale of controlled substances.

        72.     Additionally, your Affiant is aware that members and associates of DTOs as well

as street and prison gangs often attempt to conceal the coordination and execution of their criminal

activities, to include drug and firearm trafficking, through the use of encrypted messagmg

applications (apps) that can be accessed through "smart" cellular telephones.

        73.     Further, your Affiant is also aware that "smart" cellular telephones emit location

data during the use of these encrypted messaging apps or communications.

        74.     This investigation     has established that the information        likely to be received

concerning the location of the SUBJECT TELEPHONE will constitute evidence of that crime.

Said information will be useful in, among other ways, tracking the movements and activities of

IRWIN, continuing to identify the drug trafficking associates of IRWIN, locating potential stash

houses where drugs and drug proceeds are stored, and as an aid in conducting physical surveillance

with less risk of being detected.

        75.     The investigation oflRWIN, the HCB, and others known and unknown is ongoing.

The goals of this investigation is to establish and identify the following information:

                a.      The nature, extent, and methods of operation of their illegal drug trafficking;



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                 b.        The dates, times, places, and manner in which controlled substances are
                           being delivered;

                 c.       The identification of other communications facilities used in furtherance of
                          the TARGET OFFENSES;

                 d.        The methods and means of payment for the controlled substances possessed
                           and distributed and the manner in which these transactions are conducted;

                 e.        The locations where the controlled substances are stored;

                 f.        The nature and extent of the mechanisms used to import, transport, and
                           distribute controlled substances within the Southern District of Ohio and
                           elsewhere;

                 g.        The identities of co-conspirators, accomplices, aiders and abettors, and
                           other participants, and their respective roles and participation in the
                           TARGET OFFENSES;

                 h.        The identities of the sources of supply of the controlled substances being
                           distributed by IRWIN, the HCB, and others known and unknown; and

                 1.        Evidence of firearms used in furtherance of the drug trafficking activity
                           and/or crimes of violence.

In doing so, your Affiant and investigators aim to determine the precise manner in which the

criminal organization operates, and to dismantle the criminal organization through successful

arrests and prosecution ofIRWIN and members ofHCB, their associates, their sources of supply,

other   distributors,     and   any   other   co-conspirators   assisting   the   criminal    organization.

Unfortunately, the goals of the investigation have not yet been fully achieved.              Notification of

IRWIN to the disclosure of records and/or physical location data pertaining to the SUBJECT

TELEPHONE             would very likely cause him to, among other things, discard the SUBJECT

TELEPHONE he is currently using and further fortify and conceal his criminal operation.                   In

doing so, evidence is likely to be lost or never obtained, suspects may flee this jurisdiction, and

the safety of informants and law enforcement officers may be placed in danger.

                                      GOVERNMENT'S         REQUESTS



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        76.       Based on the foregoing, I request that the Court issue the proposed search warrant,

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

        77.       I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41 (f)(3), that the Court authorize the officer executing the warrant to delay notice until

thirty (30) days after the collection authorized by the warrant has been completed.           There is

reasonable cause to believe that providing immediate notification of the warrant may have an

adverse result, as defined in 18 U.S.C. § 2705.      Providing immediate notice to the subscriber or

user of the SUBJECT TELEPHONE would seriously jeopardize the ongoing investigation, as

such a disclosure would give that person an opportunity to destroy evidence, change patterns of

behavior, notify confederates, and flee from prosecution.         See 18 U.S.C. § 3103a(b)(I).      As

further specified in Attachment B, which is incorporated into the warrant, the proposed search

warrant does not authorize the seizure of any tangible property.        See 18 U.S.C. § 3103a(b)(2).

Moreover, to the extent that the warrant authorizes the seizure of any wire or electronic

communication (as defined in 18 U.S.C. § 2510) or any stored wire or electronic information, there

is reasonable necessity for the seizure for the reasons set forth above.            See 18 U.S.C. §

3103a(b )(2).

        78.       I further request that the Court direct Verizon to disclose to the government any

information described in Attachment B that is within the possession, custody, or control of

Verizon.       I also request that the Court direct Verizon to furnish the government all information,

facilities, and technical assistance necessary to accomplish the collection of the information

described in Attachment B unobtrusively and with a minimum of interference with Verizon's

services,     including   by initiating   a signal to determine    the location   of the SUBJECT

TELEPHONE on Verizon's network or with such other reference points as may be reasonably



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available, and at such intervals and times directed by the government.       The government shall

reasonably compensate Verizon for reasonable expenses incurred in furnishing such facilities or

assistance.

        79.      I further request that the Court authorize execution of the warrant at any time of

day or night, owing to the potential need to locate the SUBJECT TELEPHONE                 outside of

daytime hours.

        80.      I further request that the Warrant apply to any changed telephone number assigned

to an instrument bearing the same ESN or IMEI numbers as the SUBJECT TELEPHONE, and

to any changed ESN or IMEI number assigned to the same telephone number as the SUBJECT

TELEPHONE within the period of disclosure directed by this warrant, and to any changed ESN

or IMEI number assigned to the telephone number or telephone number assigned to the same ESN

or IMEI numbers of the SUBJECT TELEPHONE if the SUBJECT TELEPHONE is ported to

another service provider within the period of disclosure directed by this warrant.

                                          CONCLUSION

        81.      Based upon the foregoing, it is respectfully submitted that there is probable cause

to conclude that the records and physical location data of the SUBJECT TELEPHONE constitute

evidence of crimes committed, and being committed, in the Southern District of Ohio.            The

records and physical location data will reflect where SUBJECT TELEPHONE                 and certain

associates are located when criminal activity occurs and will also reflect, in conjunction with

physical surveillance and other investigative steps, those with whom the user of the SUBJECT

TELEPHONE, IRWIN, is interacting.




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          The above information is true and correct to the best of my knowledge, information and

belief.




                                             JOHN
                                             Special Agent
                                             Federal Bureau of Investigation



Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4. 1(b)(2)(A),
this May 14, 2021.




HONORABLE Chelsey M Vascura
United States Magistrate Judge
Southern District of Ohio




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                                        ATTACHMENT A

                                      The Target Account(s)

        1.     The cellular telephone assigned call number (513) 846-3153, services by Verizon

(hereinafter the "SUBJECT TELEPHONE").

       2.      Records and information associated with the SUBJECT TELEPHONE that is

within the possession, custody, or control of the Provider, including information about the location

of the cellular telephone if it is subsequently assigned a different call number.
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                                       ATTACHMENT          B

                                 Particular Things to be Seized

         I.      Information to be Disclosed by the Provider

         All information about the location of the SUBJECT            TELEPHONE         described in

Attachment A for a period of thirty (30) days, during all times of day and night.       "Information

about the location of the SUBJECT TELEPHONE"             includes all available E-911 Phase II data ,

GPS data, latitude-longitude data, and other precise location information, as well as all data about

which "cell towers" (i.e., antenna towers covering specific geographic areas) and "sectors" (i.e.,

faces of the towers) received a radio signal the SUBJECT TELEPHONE.

         To the extent that the information described in the previous paragraph (hereinafter,

"Location Information") is within the possession, custody, or control of the Provider, the Provider

is required to disclose the Location Information to the government.        In addition, the Provider

must furnish the government all information, facilities, and technical assistance necessary to

accomplish the collection of the Location Information unobtrusively        and with a minimum of

interference with the Provider's services, including by initiating a signal to determine the location

of the SUBJECT TELEPHONE            on the Provider's network or with such other reference points

as may be reasonably available, and at such intervals and times directed by the government.      The

government shall compensate the Provider for reasonable expenses incurred in furnishing such

facilities or assistance.

         This warrant does not authorize the seizure of any tangible property.     In approving this

warrant, the Court finds reasonable necessity for the seizure of the Location Information.    See 18

u.s.C.   § 3103a(b)(2).




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       II.     Information to Be Seized by the Government

       All information described above in Section I that constitutes evidence of violations of

federal law, including violations of Title 21, United States Code, Sections 841 and 846, involving

Shay IRWIN.

       Law enforcement personnel (who may include, in addition to law enforcement officers and

agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things particularly

described in this Warrant.




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